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  Exhibit E: Understanding Party Identification, Crossover Voting, and Strategic Voting in the
                                        Idaho Context

                                          Summary Points

1. In the scholarship on public opinion and political behavior, party identification is measured as an
attitude that is causally prior to any voting behavior. It has been measured in a nuanced and
standard way in the study of public opinion and political behavior consistently for over 50 years.
This question is fundamental to the discussion of political behavior and crossover voting.

2. The approach of Moore Information’s report with regard to party identification reflects a
perspective that: 1) is at odds with widely held standard practice in academic and commercial
political polling; 2) makes conclusions drawn from the analysis highly questionable; 3) prevents
valid comparisons with existing research on crossover voting in primaries.

3. How one measures crossover voting determines how much crossover voting one will find.
According to the very scholars that Professor Munger cites in his report, crossover voting should be
defined by the number of one side’s partisan identifiers voting in another party’s primary—that is,
not including Independents as crossover voters.

4. Party Organizations, if they are concerned about limiting partisan diversity within their party,
should be substantially less concerned with Independents than with opposing partisans.
Independents, and especially Independent-Leaning Republicans, are likely to be positively inclined
towards and ideologically in tune with the Republican Party.

5. Crossover voting is rarely a hostile act; instead it is a sincere expression of democratic
preferences, except in the rarest of cases. These rare cases are called “negatively strategic
behavior” in the political science literature. The very authors Professor Munger relies upon for his
definitions of crossover voting in his report, as well as many others, come to the conclusion that
negatively strategic voting is very rare, and this rare behavior even more rarely affects electoral
outcomes.

6. There is no proof of Trojan Horse voting in the academic literature.

7. Closing the primary to reduce crossover voting may reduce the probability of a very rare set of
negatively strategic behaviors, but it could also have the very real and immediate effect of 1)
excluding part of the general electorate, and their very likely sincere democratic preferences, from
the candidate selection process in Idaho’s elections, 2) producing more ideologically extreme
candidates, and 3) reducing political participation in the process.
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Introduction

This exhibit lays out the public opinion and political behavior literature relevant to crossover
voting. It is necessary to bring together many different components to understand this discussion.
The first section lays out the role of attitudinal party identification in the public opinion/voting
behavior literature. The second section contrasts the approach of the literature regarding the
standard measure of party identification with the question and approach of the Moore Information
report. The third section is a discussion of the measurement of party identification and its role in
the voting behavior literature. The fourth is a discussion of various aspects of the crossover voting
literature itself and a discussion of how partisan identification and parties fit in with voting
behavior in primary elections and how the literature measures crossover voting as a concept.
Finally, we discuss the implications of the measurement of crossover, and particularly “negatively
strategic,” voting particularized to the Idaho context.

The Funnel of Causality in Voting Behavior

Attitudinal party identification is perhaps the most prominent explanatory concept in the literature
on political attitudes and behavior, because it is “the most important factor connecting voters’
backgrounds, social settings, and their more immediate assessments of issues and the candidates”
in a particular election (Abramson, Aldrich, and Rohde 2009, p. 193). Expressing the primacy of
party identification, Weisberg and Greene (2003) call party identification “the linchpin of our
modern understanding of electoral democracy, and it is likely to retain that crucial theoretical
position” (Weisberg and Greene 2003, p. 115).

Importantly, as opposed to the measure used in the Moore Information survey, the concept of party
identification is measured as an attitude, and very much distinct from, and causally prior to,
behavior—in this case voting behavior (Campbell, Converse, Miller, and Stokes 1960; Weisberg and
Greene 2003). Eagly and Chaiken (1998) offer this definition:

       “There are different usages of the term [attitude] in the social psychology literature,
       and the meaning given to it has evolved over the years. The definition given in the
       1998 edition of the Handbook of Social Psychology is that an attitude is a
       ‘psychological tendency that is expressed by evaluating a particular entity with
       some degree of favor or disfavor.’ According to this definition, an attitude is an
       internal state, not directly observable, but inferred from observables. It is
       expressed by evaluative responses of some degree of favorability or unfavorability.”
       (Eagly and Chaiken 1998, p. 269).

The model of political behavior that is most taught in public opinion and political behavior courses
prominently features attitudinal measures of partisan identification as a key predictor of voting
behavior at the level of the individual voter; it is ubiquitously known as the Funnel of Causality (see
Figure E-1, or “Figure 9-1” from original text).
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Figure E-1: The Funnel of Causality Predicting Vote Choice




Source: Dalton, Russell. 2008. Citizen Politics, p. 171

Thus, the Funnel of Causality,

        “provides a useful device for organizing the factors that can influence voting choices.
        To understand voting, one has to recognize the causal relationship between the
        many factors involved.

            •   The wide end of the funnel represents broad social conditions that structure
                political conflict; attention shifts to explicitly more political factors as we
                move through the funnel.
            •   The factors on the left are temporally distant from the actual voting decision;
                the factors on the right are more proximate to voting choice.
            •   The factors on the left are conditions of society, and then groups; the factors
                on the right are considerations made by the individual voter.

        In sum, the Funnel of Causality is a framework that connects the various elements—
        either distant or proximate—that influence voting choices.” (Dalton 2008, p. 172,
        emphasis original)
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This discussion of party identification as an attitude, as well as its place in the voting decision, is
important to this report for many reasons; for example, the reader can gain an understanding of the
diverse number of factors that can affect voting, how partisanship fits into the literature on voting
(and therefore crossover voting), and others. However, primary among those reasons is that party
identification is causally prior to other political attitudes and behavior, which we will discuss in the
section to follow.

The Variation of Partisanship in Voting Behavior

In his report, Professor Munger cites Adamany (1976) in the first paragraph under “Analysis”, (p. 2,
emphasis added): “Cross over voters—voters who do not identify with the party in whose primary
they cast ballots.” Note well the word “identify” which is indicative of a measure of an attitude:
partisan identification.

Below is question 3, the measure of “partisan affiliation” as termed and used in the Moore
Information survey. We have already discussed many of the problems with the question wording
itself as a valid measure of partisanship in Exhibit D. However, we should also discuss this question
in the context of the extant literature on partisan identification.




This is a question asking the respondent about his or her past voting behavior. The study then goes
on to use this question as the key segregating variable (GOP v. non-GOP) along which analyses of
crossover voting are structured.

As mentioned in Exhibit D (p. 18), this question is poorly conceived for many reasons, namely
because it asks respondents to, at that moment, remember how they have “usually voted,” not in
recent elections, not in the last election which was at best 14 months earlier, but over their entire
voting history, then do a calculation on the spot, and then answer appropriately (for other problems
with the Moore Information measure, please see Exhibit D, pp. 18-19).

Even with all of the problems detailed in the section on the Moore Information survey, it is still
more disturbing to us that in every study that has analyzed crossover voting brought to bear by
both sides in this proceeding, some attitudinal measure of party identification, and not past voting
behavior, has been used as the key measure distinguishing crossover voting behavior; it is
essentially attitude, not voting behavior, that has come to define Party in the Electorate.

Most of the studies mentioned in this literature review on crossover voting use the canonical
American National Election Studies (ANES) partisan identification question as originally put forth
by Campbell, Converse, Miller, and Stokes in their work The American Voter (Campbell et al. 1960),
including Adamany (1976, fn 20) and Hedlund (1978) mentioned by Professor Munger in his
report, but also Wekkin (1991), Hedlund (1978), Hedlund, Watts, and Hedge (1982), Hedlund and
Watts (1986), Southwell (1989, 1991) and others. The literature that does not use the exact ANES
question still uses a similar attitudinal measure of party identification, yet the questions used in the
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Moore Information survey made no attempt to measure partisan identification as it is usually
measured in the literature.

Most of the measures of attitudinal partisanship across these many studies are asked in exactly the
same fashion because that measure is used by the ANES, which has used the same question to
measure attitudinal partisanship since its inception over 50 years ago, and is used in a vast majority
of academic research. Even most non-academic pollsters rely on this measure, or one similar, in
published research, and the few that do not use the ANES measure verbatim all most definitely ask
questions about respondent’s attitudinal partisanship as a key distinguishing variable.

Had the Moore Information survey asked some version of this canonical identity question,
preferably the “seven-point scale” (discussed in greater detail below), in addition to the Moore
Information question, an analysis would have been possible to at least see the degree of correlation
between the attitudinal and behavioral measures, and then allow for a further discussion of the
validity of the measure. 1 However, this is impossible because the question was not asked. This
omission therefore means also that there is simply no way to compare the findings detailed in the
Moore Information report to the findings in the extant literature related to crossover voting,
because the literature uses an attitudinal party identification question in each and every case. Any
comparison would be invalid.

It is not our place to speculate as to the motives for using this question instead of the standard
partisan identification question or some equivalent. What we can say with confidence, however, is
that this decision: 1) is at odds with widely held standard practice in academic and commercial
political polling; 2) makes conclusions drawn from the analysis highly questionable; 3) prevents
valid comparisons with existing research on crossover voting in primaries. 2

The Attitudinal Measure of Partisanship

The canonical ANES question of party identification as originally framed by Campbell, Converse,
Miller and Stokes (1960) reads:


1 It is fair to say that voting behavior measure used by Moore Information is likely at least somewhat correlated with the

ANES measure of party identification, but we have no way of knowing the extent of that correlation, nor is it possible to
assess the validity of the Moore Information behavioral measure as a proxy measure for attitudinal party identification as
it was used in the Moore Information report. This is especially problematic without having valid questions measuring
party identification and voting behavior, preferably with both the ANES question and the Moore Information “affiliation”
question being asked in the same survey to do a test of these relationships. However, even if this were the case (and this
is not possible, because we could not find any other data source with these two questions in it, as it seems that the Moore
Information behavioral question lacks precedent in any research survey that we have seen) it would still be problematic.
This is because these concepts, and the measures that attempt to capture them, are causally linked—attitude prior to
behavior. As one can see from our discussion of the Funnel of Causality above, there are many variables in this theory in
the causal path between attitudinal party identification and vote; this all means that using self-reported vote as a measure
of partisan identification is not a valid proxy for party identification conceptually either.
2 Further, we cannot compare the partisanship numbers that do exist to any other publicly available survey of Idaho

voters. The Boise State University SSRC’s survey was on the entire Idaho electorate, the Moore Information report was on
Idaho primary voters only, so we cannot use the SSRC survey to infer the partisanship or ideology of the Moore
Information sample. The two are different populations, and it is difficult to compare the two, even in an open primary
system that is inclusive of the entire electorate, it is likely the case that fewer Independent identifiers participated. So, no
comparisons can be made.
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         “Generally speaking, do you think of yourself as a Republican, a Democrat, an
         Independent, or what?”

Often this question is used in this closed-end format (and given the small numbers, the “others” are
typically dropped from analyses where partisanship is an important factor), as it is in the Boise
State Policy Survey discussed in Exhibit B (pp. 2-3), and is used as a three-point scale (see Figure E-
2).

Figure E-2: The Three-Point Party Identification Scale as Generated by the ANES Attitudinal
Measure


                            Republican               Independent                 Democrat

Frequently, and especially in academic studies of voting behavior, the question is “branched,”
meaning that if the respondent answers “Republican” or “Democrat,” the interviewer follows up
with “Would you call yourself a strong Republican [Democrat] or a not very strong Republican
[Democrat]?” [option depends on answer].

If the respondent answers “Independent,” the interviewer asks: “Do you think of yourself as closer
to the Republican Party or to the Democratic Party?” If they respond that they are closer to a
certain party, they are classified as leaning toward the party they specify. These respondents are
the “leaners,” or “partisan Independents,” as compared to the “pure Independents,” who are those
who refuse to acknowledge partisan ties even when pressed.

These responses are then lined up and used as an ordinal measure of partisanship called “the
seven-point scale,” which as demonstrated in Figure E-3 ranges from “Strong Republican” to
“Strong Democrat. “

Figure E-3: The “Seven-point Scale”: The Party Identification Scale as Generated by the ANES
Attitudinal Measure


    Strong            Weak            Ind Leaning        Independ-        Ind Leaning         Weak              Strong
  Republican        Republican        Republican            ent            Democrat          Democrat          Democrat


The “seven-point scale” questions are often used in other academic surveys and by media and
political pollsters—or questions very similar are used. 3 Among the most notable features of this
seven-point scale is that, in terms of both attitudes and behaviors, Independent-Leaning
Republicans and Independent-Leaning Democrats (generally referred to as “leaners”) are
essentially partisans. Their positions on issues, their attitudes towards both parties, and their

3 For example, Gallup uses a very similar question: “In politics, as of today, do you consider yourself a Republican, a

Democrat, or an Independent?” The 1992 Voter Research and Surveys used in some of the cases studied by Alvarez and
Nagler (1997) asked voters leaving the primary polling place: “No matter how you voted today, do you usually think of
yourself as a: 1) Strong Democrat, 2) Not strong Democrat, 3) Strong Republican, 4) Not strong Republican, 5)
independent, 6) something else?" The point is that all of them are asking the respondent to report their attitudinal
identification with a party and not how they have behaved in the past as a measure of the respondent’s party affiliation.
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voting behavior are largely indistinguishable from that of avowed partisans (Keith et al. 1992).
They self-identify as “Independent” largely due to positive attitudes towards the pro-social value of
political independency, rather than any less positive regard towards their preferred party (Greene
2000). Also, in presidential elections it is a very common occurrence for “leaners” to support their
party’s presidential candidate at rates greater than that of weak partisans. 4 Because of both these
patterns, it is standard practice among both scholars and pollsters to group “leaners” with strong
and weak partisans. Thus, in exploring the role of “Independents” in open primaries, it is essential
to bear in mind that a substantial portion of these voters are, in terms of their political attitudes and
behaviors, not all that different from those who self-identify with a party label. 5

It is likely the case that, as we can see from the SSRC study of the entire Idaho electorate discussed
in the elections section, because of the large proportion of the electorate that identifies itself as
conservative, a larger proportion of Independents in open primaries are Independent-Leaning
Republicans. However, again, because the question was not asked in this way, either by SSRC or by
Moore Information, we cannot know for sure.

So, with this evidence and an understanding of scholarship, it logically follows that Independent-
Leaning Republicans are likely a substantial majority of non-Republican identified voters in Idaho
primaries. Most political scientists would not consider any Independents crossover voters and, as
we have discussed, leaners are considered partisans in the literature. We cannot know this with
certainty in the Idaho context because of the lack of appropriate questions and valid data, of course,
but this is a logical deduction. Had the attitudinal partisanship question been asked as it should
have been, we would be able to see if this was the case.

Party Identification and the Crossover Voting Literature

Professor Munger depends heavily on the Alvarez and Nagler (2002) book chapter in his report and
deposition. This chapter—a study of five assembly races in California under the blanket primary
system—serves as an important basis for parts of Professor Munger’s theoretical framework;
Professor Munger in his deposition also attributed this piece as the source of the question used in
the Moore Information survey, which of course it is not. 6

In the very paper that Professor Munger cites, Alvarez and Nagler (2002) say in the chapter that
they were trying to validly measure,

         “what respondents ‘usually thought of (themselves) as’; thus we were measuring
         partisan identification, not partisan registration. Since the primary purpose of the


4 For example, according to the 2008 ANES, 91% of Independent Leaning Democrats voted for Obama in 2008 as

compared to 86% of Weak Democrats (ANES 2008).
5 This explanation lines up with the explanations of leaners and discussions of party identification’s role in crossover

voting in the literature. (Wekkin 1991; Hedlund 1978; Hedlund, Watts, and Hedge 1982; Hedlund and Watts 1986).
6 It should also be noted that Professor Munger also, after expressing concern about the validity of non-peer reviewed

articles (namely the Alvarez and Nagler 1997 piece, which was submitted as an expert report in the Jones case) in his
deposition, so heavily depends on an Alvarez and Nagler (2002) book chapter as the very heart of his analysis—a book
chapter, that Alvarez himself segregates away from “peer-reviewed” articles on his CV (R. Michael Alvarez’s CV, accessed
March 25, 2010, http://www.hss.caltech.edu/~rma/rma%20vita_JAN182010.pdf).
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        survey was to measure the intent of voters, this is the more appropriate
        partisanship measure [in comparison to looking at registration] (see Chapter 5 by
        Sides, Cohen, and Citrin in this volume).” (Alvarez and Nagler 2002, p. 110;
        referring to Sides, Cohen, and Citrin 2002, pp. 77-106)

The Sides, Cohen, and Citrin (2002) chapter to which Alvarez and Nagler (2002) refer the reader in
the quote above gives a very detailed discussion of measuring partisanship and how it fits into the
study of crossover voting in the larger study of California’s blanket primary:

        “First, how should the political party to which a person belongs be defined? One
        possibility is party registration. Under this definition, voters cross over when they
        vote for a candidate from a party other than the one in which they are registered.”
        (Sides, Cohen, and Citrin 2002, p. 77-78, emphasis original)

Of course, analyzing voters by party registration is not a possibility in Idaho, as there is no partisan
registration as there was in the analysis of California, which while still having partisan registration,
also had a blanket primary. Sides, Cohen, and Citrin (2002) continue:

        “Another alternative is to define crossover voting based on party identification.
        Whereas party registration is a legal formality, party identification is a psychological
        construct, an enduring tie between a citizen and a particular political party. Party
        identification does not entirely determine one's vote, and therefore affiliating with a
        party is conceptually distinct from voting for that party's candidate (Miller and
        Shanks 1996). Nevertheless, if party identification constitutes, in V. O. Key's phrase,
        a ‘standing decision,’ then voting against one's normal affiliation in the absence of
        any strategic consideration implies a weakening of loyalty, either temporary or
        permanent. Because voters vary in the intensity of their party identification,
        defining crossover voting with this as the reference point allows for a deeper
        analysis of its underlying psychology, since one can compare strong and weak
        partisans.”

        Another definitional issue concerns the self-styled political independent. In the case
        of party registration, ’independents’ include both members of minor parties and
        those who do not register with any party (’nonpartisans’). In the case of party
        identification, ’independents’ profess no attachment to any party. Strictly speaking,
        any independent (however defined) who votes for a Democrat or Republican
        engages in crossover voting (Adamany 1976). […] However, because Democratic
        and Republican party officials worry mostly about potential mischief by the major
        opposition party, not about the votes of minor-party members and nonpartisans, we
        focus primarily on crossover voting among Democrats and Republicans.” (Sides,
        Cohen, and Citrin 2002, p. 77-78, emphasis added)

This discussion, taken from the very pieces that Professor Munger cites in his report and
depositions, raises very important points that are germane to our discussion of the Moore
Information Survey and Professor Munger’s report:
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1. Attitudinal party identification is a fundamental measure by which we can determine crossover
voting, especially if partisan registration data are not present, which it is not in Idaho. Sides, Cohen,
and Citrin (2002) also use the “seven-point” scale in their analyses (p. 101).

2. Adamany (1976) began with the notion that any non-partisan not in a particular party’s primary
is a crossover voter. However, this and much of the literature that followed since that time argues
that because party officials should be more concerned about potential mischief (or “negative
strategic voting”) by identifiers of the major opposition party: it is crossover voting among
Democrat and Republican identifiers in the opposing party that should be considered as a threat.
The literature reflects this change in perspective over time. (Wekkin 1991; Hedlund 1978; Hedlund,
Watts, and Hedge 1982; Hedlund and Watts 1986; Alvarez and Nagler 1997, 2002; Southwell 1988,
1991).

3. In their study of crossover voting, Alvarez and Nagler (2002), as discussed in the Sides, Cohen,
and Citrin (2002) chapter, analyzed crossover voting by “focus[ing] primarily on crossover voting
among Democrats and Republicans” (Sides, Cohen, and Citrin 2002, p. 78). This is not the
operational definition used in the Moore Information Survey report; instead a comparison was
made between GOP and non-GOP voters, which as discussed earlier is at best fallacious.

As we discussed in Exhibit D, the key comparison here is among Republicans, Independents, and
Democrats as primary voters, not as general members of the Idaho electorate. Further, the
Republican Party Organization should find Independents to be of substantially lesser concern than
partisan Democrats. Among Independents, they should find Independent-Leaning Republicans of
less concern than pure Independents, and Independents of less concern than Independent-Leaning
Democrats, and so on down the continuum discussed above in Figure E-3.

In order to do an appropriate analysis of these ideas and provide an answer to the pressing
questions about the Idaho primary in a way that corresponds with the literature, we would need to
have data on how different the types of partisans, especially the proportion of Independent-Leaning
Republicans, pure Independents and Democratic identifiers in the Republican primary electorate,
are from Republican identifiers who voted in the 2008 Idaho Republican primary. However, we
cannot do that with the data supplied to us in this survey because, as has been noted, valid
questions measuring this concept were not available, and even if the questions had been asked, the
data would likely have been invalid because of the memory bias effects present in a study
conducted so temporally distant from the past event being queried.

Strategic Crossover Voting

We accept the typology of crossover voting that Munger offers in his report (p. 2), as cited in the
Alvarez and Nagler (2002) chapter on California’s blanket primary. That typology is included here,
along with an explanation of each of the types that warrant explanation:

    1. “Sincere crossover voting occurs when a person votes for a candidate of another party
       because he likes that candidate better than any of the candidates in his own party primary.
       Thus, a sincere crossover voter has evaluated all of the candidates running for nomination
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       in all parties and has decided to vote for the candidate he most prefers, regardless of that
       candidate's party affiliation.”

   2. “Hedging is a form of strategic crossover that occurs when crossover voting is motivated by
      the fact that the voter is faced with a situation in her party where the winner is certain,
      either due to incumbency or to a very strong candidate in that party. The voter thus crosses
      over to vote in the other party's primary, since that primary is more competitive and thus
      the voter's ballot might have greater influence in that race than in her own party's race.”

For example, with George Bush a certain Republican presidential nominee in 2004, a Republican
voter in New Hampshire might decide that he should vote for John Kerry in the Democratic primary
as he finds him the least objectionable Democrat, should a Democrat go on to win the presidential
race. Although the voter is behaving strategically in the choice of which primary to vote in, notably,
the voter is voting for his sincerely preferred candidate in the race in which he participates.

   3. “A second type of strategic crossover, which we call impact voting, is another form of
      hedging. Impact voting occurs in one-party districts when a voter from the minority party
      casts a ballot in the dominant party primary because she is certain that the nominee of the
      dominant party will win the general election and thus wants her vote to have some
      influence or impact on which dominant-party candidate will win the general election and
      represent her own interests.”

This was the case for many voters in Southern states for the first half of the 20th century as
Democratic one-party domination meant that the only way to have any influence on one’s own
representation was to vote in a Democratic primary.

   4. “Raiding is strategic crossover in which voters support a weak candidate in the opposing
      party's primary so that their own party's candidate will have a better chance of winning in
      the general election.” (Alvarez and Nagler 2002, p. 107-108)

An example of this would be 2008 Obama supporters voting in a Republican primary for Ron Paul
because they saw him as the least credible threat to an Obama victory.

The problem is, of course, what Professor Munger does with this typology. Munger posits that
every type of voting listed above except sincere voting is negative, and while that may perhaps be
the view of any Party Organization (as alluded in earlier section, the more partisan Party
Organization wants to decrease outside influence as much as possible with regard to candidate
selection), this is not the view held by the extant research, as we will see below.

Further, it is important to note that, in a situation where there are multiple primary elections in an
open primary, (i.e., Governor, Senator, US House, State Legislator in the same electoral cycle, which
is typically the case), the incentives for a voter to behave in a negatively strategic fashion are
substantially reduced compared to what would occur in a blanket primary system because the
stakes of crossover in an open system are higher than in a blanket primary. In choosing a crossover
vote based on a single race, a voter therefore foregoes the opportunity to vote in other races for
their own party in which he or she likely has a sincere preference. In that way, open primaries are
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self-regulating as multiple races in the same open primary thus create a strong disincentive for
crossover voting.

Professor Munger then creates a nightmare scenario in his report (p. 3), the idea of Trojan Horse
crossover voting, that does not exist anywhere in the published literature on crossover voting. This
is probably because, while admittedly slightly possible, it is highly unlikely (see Exhibit F).
Professor Munger suggests that crossover voting of any type other than pure “sincere” is evidence
for “mischief” to reinforce the Trojan Horse scenario; further, Professor Munger basically takes
evidence for any strategic crossover voting, e.g., impact voting, etc., and implies that it is evidence
for Trojan Horse voting, which is not what the extant literature tells us is the case. This will be
discussed in further detail in Exhibit F.

Strategic Voting in the Literature

Inside the Idaho open primary system, especially in a one-party state like Idaho where the
Republican Party primaries are in most cases the “only game in town,” voters do likely cross over;
they have to in order to have any meaningful influence in elections and express their sincere
preferences with regard to their own representation, just as voters did in the one-party Democratic
South a generation ago. And, as we noted in Exhibit B (pp. 12-13), Idaho is the most one-party state
and the least electorally competitive state in the United States on the Ranney Index.

After citing a few well-known incidents of public exhortations by public figures to behave in a
negatively strategic fashion—to participate in raiding—Hershey (2010) notes that, “[s]tudies of
open primaries have found little evidence of raiding, however. Voters usually crossover to vote
their real preferences rather than to weaken the party in whose primary they are participating
(Wekkin 1991).” So, most of this crossover is sincere expression of preferences, not insincere
negative strategic voting (Southwell 1988, 1991; Wekkin 1988, 1991; Alvarez and Nagler 1997,
2002; Ranney, 1966). The conclusion from all of this literature is that crossover voting is rarely a
hostile act; instead it is a sincere expression of democratic preferences.

To further expound on this idea, we should discuss another reclassification of these types of
crossover voting behavior in the literature: one put forth by Southwell (1991) that is informative to
this perspective. Her contribution to the debate is that the crossover behaviors listed above fit into
the categories of sincere voting, positive strategic voting (which includes “hedge” voting and
“impact” voting from the Alvarez and Nagler (2002) typology above) and negative strategic voting,
which is another term for “raiding” behavior. The Southwell (1991) classification and her findings
regarding crossover voting in the 1988 Super Tuesday Presidential Primaries are laid out below,
along with her research findings regarding open primaries, in Figure E-4.

The Party Organization, according to Southwell (1991) and others (cited below), should be most
concerned with “negative strategic voting” in which “members of the opposition party select the
weakest candidate in order to help their own party’s choice in the general election,” and “the
possibility that nonparty members could dilute or alter the outcome of the primary if they were
allowed to participate.” This is because, in all the other forms of crossover voting, the voters are
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actually voting their sincere preference given the choices. The arguments and evidence that
negative strategic voting, or raiding, is not an issue are laid out by Southwell (1991):

        “Political scientists, in contrast to party leaders, have tended to minimize the effects
        of strategic voting in primaries. As Sorauf (1984) concluded, ‘There is little evidence
        to suggest that [strategic voting] is more than a worrisome myth.’ Riker (1982)
        suggested that the complicated nature of raiding a party’s primary prevents such a
        strategy from being used by enough voters to make a difference. Previous empirical
        research on strategic voting has reached similar conclusions about the possibility of
        strategic voting (see Ranney 1972; Abramowitz, McGlennon, and Rapoport, 1981;
        Hedlund and Watts, 1986).” (Southwell 1991, pp. 789-90)

Figure E-4: Sincere, Positive, and Negative Strategic Voting in the 1988 Super Tuesday Open
Primaries

  Negative
  Strategic
                Positive Strategic
  Voting--
                  Voting (18%)                         Sincere Voting (79%)
 "Raiding"
   (3%)

  In her study of the 1988 Super Tuesday open primaries, Southwell found that 79% of voters voted sincerely,
   18% of voters voted in a "positively strategic" manner, and 3% voted in a "negatively strategic" manner in
                                    open primaries (Southwell 1991, p. 791).


Source: Author adapted from Southwell’s (1991) findings analyzing the 1988 Super Tuesday
Primaries.

Southwell (1991) further summarizes the literature saying, “Previous researchers are also
generally in agreement that crossover voters rarely affect the outcome of primary elections,
although such voters do make up a considerable portion of the primary electorate and may alter the
margin of victory (see Ranney, 1972; Adamany, 1976; Hedlund, 1978; Lengle, 1981, Hedlund,
Watts, and Hedge, 1983; Geer, 1986; Hedlund and Watts, 1986).” (Southwell 1991, p. 791)

When negative strategic voting does occur, Southwell (1991) states that “the relative successes of
the various presidential candidates were nearly identical under three scenarios [a comparison of
open primaries versus semi-closed and closed primaries] of different types of primary” (p. 789) and
“Candidate fortunes are minimally affected by allowing independents or opposing partisans to
participate” (p. 795). Southwell also found that there was more negatively strategic voting in closed
primaries (6%)—further accentuating the point that negatively strategic voting can still occur and
may actually occur more in closed primaries—than there was in open primaries (3%) (pp. 791-792,
Table 1).

Southwell (1991) also acknowledges, realistically, that there is always going to be the potential for
“nightmare scenarios” where partisans from the other side “raid” a primary, making the primary
more competitive or perhaps even changing the outcome. However, Southwell (1991) goes on to
say that these occurrences are “rather improbable” in American politics and goes on to argue that
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“it could be argued that the outcome of even such an occurrence would benefit the party rather
than harm it. If the outcome of the primary contest is altered when independents or opposing
partisans are allowed to participate, then this is an indication that the candidate favored by most
party regulars is not likely to fare well in the November election because he or she lacks a broad
appeal.” (Southwell 1991, p. 794, emphasis original).

In the same piece from which Professor Munger garnered the definitions of crossover voting and on
which he relies so heavily on in his report and deposition, Alvarez and Nagler (2002), in their
studies of California blanket primaries, primaries more “open” than those in Idaho, come to the
conclusion that their results,

       “[…] are generally consistent with the conclusions we reached in earlier analyses of
       crossover voting in Washington State primaries and in presidential primaries
       (Alvarez and Nagler 1997) and in other analyses of the June 1998 primary in
       California (Alvarez and Nagler 2000a). In all of these studies, we find that most
       crossover voting is motivated by sincere considerations, and that very little of such
       voting is motivated by a desire to raid the other party's primary. The main motivation
       for crossover voting, in fact, stems from incumbency; when an incumbent is in a
       primary election, there is usually high crossover for the incumbent candidate.”
       (Alvarez and Nagler 2002, p. 120-121, emphasis added)

They go further:

       “Outside of crossover voting for incumbents, though, why is there so little crossover
       voting? More to the point, why is there so little strategic crossover voting? We
       believe that there is a simple explanation: strategic crossover voting requires a great
       deal of voter coordination (Cox 1997). That is, to be a strategic crossover voter
       requires a fair amount of information about both the dynamics within your own
       party and the other party primaries and about what is likely to happen in the
       general election. To be successful, strategic crossover needs to be coordinated on
       certain candidates—and it is difficult for voters on their own to engage in such
       coordination. Only when political elites, the mass media, or candidate campaigns
       provide these coordination cues will there be high levels of strategic voting and will
       this strategic voting sway the election outcome. Thus the important question really
       should be, ‘Under what circumstances will elites or candidates be willing and able to
       undertake the costs of voter coordination in blanket primary elections?’” (Alvarez
       and Nagler 2002, p. 121, emphasis original)

Note, the above was a discussion of blanket primary elections, which are more “open” than
open primaries are, as we discussed in Exhibit C. As silly as it sounds to say, it is an
important point that must be emphasized: open primaries are more “closed” than blanket
primaries.

In short, the most thorough analysis of crossover voting in the most open type of primary
elections—blanket primaries—conducted by two of the most esteemed scholars of American
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politics, and the paper that Professor Munger relied on for his report conclude that not only is there
little evidence for strategic crossover voting, but based on empirical and theoretical understandings
of American political behavior, we should not expect to find evidence for this above the barest
levels.

Party Organization in Crossover Voting

As we have seen from this discussion, the definition of crossover voting is a complicated one and
has subjective components. The Sides, Cohen, and Citrin (2002) and Alvarez and Nagler (2002)
pieces detailed the argument well about the use of the attitudinal partisanship as a measure and
that we should focus on partisans crossing over as the potential problem area, especially with
regard to raiding behavior. This means that we should be focusing on the definition that a
crossover voter is a Democratic voter who votes in a Republican primary or a Republican voter who
votes in a Democratic primary, not the GOP v. non-GOP distinction drawn in the Moore Information
report. And further, with regard to Independents, we should understand that most of them are
likely voting sincerely or with positive intent, reflecting their true preferences.

From the perspective of the Party Organization, of course, a voter is crossover voting when they do
not avowedly identify with a party but vote in that party’s primary election, in turn playing a role in
choosing the party’s candidate. This is the motivation for any Party Organization to want to close
its primary, perhaps making the primary constituency more partisan and thus reducing the
moderating influence Independents may have in a closed primary, unless they chose to register,
sincerely or insincerely, with a political party to participate in its primary.

It is likely that voters outside the party’s base identifiers would like to play a role in the selection of
candidates that they will later vote on in the general election so that they may have a say in their
own representation, especially when the Republican primary is the “only game in town.” Other
voters who may be inclined towards the party ideologically, or may align with the party’s brand
name but think the party too extreme at the moment and consider themselves “Independent” may
also want to have a say in who runs in the general election. The point is that scholarly research
leads us to firmly conclude that the overwhelming majority of these voters who are voting in
primaries are expressing their sincere preferences, and those who are behaving strategically
generally do not have ill intent towards candidates or partisans, but rather are behaving in a
“positively strategic” manner (Southwell 1991).

Measuring Crossover Voting

Alvarez and Nagler (1997) conducted an analysis that was submitted as expert testimony for the
Jones blanket primary case in California. In a version of that paper, they sum up the difficulties in
the crossover voting literature as thus:

        “There is disagreement in the literature over the definition of crossover voting. This
        disagreement centers on independent voters. As much of the early literature was
        generated by a Democratic Party platform rule that explicitly grouped independent
        voters with Republicans, the early literature reflected that categorization in defining
        a crossover voter. We use the term “crossover voting" to refer to when identifiers of
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       the opposing party vote in the primary (i.e., Republicans vote in the Democratic
       primary or Democrats vote in the Republican primary).” (Alvarez and Nagler 1997,
       p. 4)

We agree that this is a very important distinction because the underlying point is that how
you conceive of and measure crossover voting determines how much crossover voting you will
find. If one includes Independents in the measure of crossover voting, of course you are
going to increase the number of crossover voters you find (e.g., Wekkin 1988, 1991;
Hedlund 1978; Hedlund et al. 1982; Hedlund and Watts 1986).

After having systematically reviewed the extant empirical literature on crossover voting
(Abramowitz et al. 1981; Adamany 1976; Alvarez and Nagler 1997, 2002; Hedlund 1978;
Hedlund et al. 1982; Hedlund and Watts 1986; Ranney and Epstein 1966; Southwell 1989,
1991; Wekkin 1989, 1991), it would seem that an effective estimate of the average of
crossover voting in the literature comes in at around 10%, under the strict definition of
crossover voting—of one side’s partisan identifiers voting in another party. Alvarez and
Nagler (1997) agree with this assessment:

       “Most disagreement in the literature on the amount of crossover voting is based
       simply on disagreement over the definition of crossover voting. The literature
       seems to agree that when speaking of strictly partisan crossover voting (as opposed
       to counting Independents as crossovers), there is on the order of 10% crossover
       voting in primaries.” (Alvarez and Nagler 1997, p. 6)

This estimate obviously does not preclude larger numbers of crossover voting in particular
elections in particular contexts, but with no evidence to the contrary, assuming more without
further evidence does not make sense in the Idaho context.

Further, and more importantly, it must be remembered that most of this crossover voting is an
expression of sincere democratic preferences. As Southwell (1991) pointed out in her study, only
about 3% of voting in open primaries was negatively strategic.

The numbers described above are not large, and certainly while the potential is always there for
these “nightmare scenarios” as described by Southwell (1991) to come to pass, the risk is minimal;
especially if we remember the relative lack of contested primary elections in Idaho detailed in
Exhibit B. Over the past eight electoral cycles in Idaho--of the 840 Republican state legislative
primaries, only 35 (4.2%) of them were decided by a margin of less than 5% (p. 6, Table B-2). If we
put this in the context of the many other explanations that can be brought to bear in explaining
electoral outcomes (Exhibit C), one can see how much of a jump it takes to say that any single cause,
namely negative strategic voting or primary type—keeping in mind that Southwell (1991) found
more negatively strategic behavior in closed primaries than open ones (6% vs. 3%)—has ever
caused any single electoral outcome.

Trojan Horse voting, as Professor Munger describes it, is very likely to be even more rare than this,
because it would require more coordination that normal raiding behavior (see Exhibit F for a
discussion of this).
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These concerns about rare negatively strategic behavior are balanced against the very clear
benefits of an open primary in an Idaho context where competitive races are rare, including more
open access, increased opportunity for political participation of the entire Idaho electorate, and
therefore more democratic influence on candidate selection, less ideologically extreme candidates,
and potentially less ideological polarization in Idaho than would be the case were the rules changed
to a closed direct primary system.

Conclusion and Summary to This Point of the Exercise

Based on a large amount of political science literature and an understanding of attitudinal party
identification, political parties, and political behavior, we can conclude in our review of Professor
Munger’s report thus far that:

1. Surveying the electorate about self-reported political behavior that occurred well over a year
and a half earlier, and then finding a method to overcome the many sources of bias that result in the
data, is a very difficult task (Exhibit D).

2. The survey Moore Information conducted failed to include the appropriate measures that would
actually let us analyze the issues involved and compare that knowledge to what we already know
about crossover voting. There is a much more nuanced understanding of attitudinal partisan
identification that is the very basis of the public opinion, voting behavior, and crossover voting
literature that has not been brought at all to bear in this study; so much of the evidence presented
has no comparison in the literature (Exhibit D and E).

3. With so many other alternative explanations for electoral outcomes, blaming any electoral loss
solely on any single factor, like crossover voting or primary type, is a very difficult case to make
(Exhibit C).

4. Crossover voting has likely been present since the adoption of the Idaho direct open primary.
Republicans continue to do very well in elections in Idaho, especially over the last 15 years (Exhibit
B).

As we saw from our discussion of Southwell (1991), crossover voting is, a vast majority of the time,
an expression of the voter’s sincere preferences. This is where the tensions discussed in Exhibit C
between Party in Government and Party Organization come into play: each candidate or elected
official has to be responsive to their constituency, but Party Organization is likely to see crossover
voting as a problem (as discussed in Exhibit C).

There is little proof that Party in Government or Party in the Electorate has been aggrieved by the
current open primary system in Idaho (Exhibit B). Party Organizations, if they are concerned about
limiting partisan diversity within their party, should be substantially less concerned with
Independents than with opposing partisans, as Independents are likely to be more positively
inclined towards and ideologically in tune with the Republican Party.

It is safe to say, in Idaho’s one-party context, crossover voting may be a bad thing for Party
Organizations and ideologically extreme candidates, but it is not a bad thing for the Party in the
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Electorate (who all likely want their voices heard in the candidate selection process), the Party in
Government (especially those in competitive districts), or the state of Idaho.

5. The Responsible Party Model relies on many assumptions; primarily it assumes two competitive
parties and a bell-shaped ideological curve (as Professor Munger drew in his report, pp. 5, 7, and 9)
to function properly. We have neither in the Idaho context: instead, we are likely to have many
more Republicans than Independents, and more Independents than Democrats according to the
SRCC study detailed in Exhibit B (pp. 2-3), combined with a lack of a competitive set of Idaho
primary elections. In this context, Party Organization’s drive for party responsibility could lead to a
more polarized, exclusionary set of politics in Idaho.

In competitive states, strong vigorous parties should be welcomed. In one-party states such as
Idaho, overly strong parties are a threat to a properly functioning democracy (Exhibits C and E).

6. After what we have learned from Southwell (1991), the voters of Idaho should be assumed to be
voting their sincere preferences until proven otherwise. Negative strategic voting is very likely a
non-issue in Idaho. Yes, there may be crossover voting, but most of it is sincere expression of
preferences from voters who are likely to be positively inclined towards the Republican Party and
its candidates, but may have more moderate or Independent preferences themselves. The amount
of raiding from Democratic partisans is very likely small and rarely is enough to affect any specific
electoral outcome. The amount of Trojan Horse voting that occurs—well, we don’t know, because
we have never actually seen it (discussed further in Exhibit F).

There is no definitive proof that has been offered of negative strategic raiding behavior in any data
in either Professor Munger’s report or the Moore Information report. Nor have we seen any
definitive evidence that the outcomes of any particular races were affected by the primary system
that now exists in Idaho. This seems to concur with the literature, which tells us that crossover
voting rarely affects electoral margins after controlling for other explanations of electoral
outcomes, especially to the extent that it changes electoral wins and losses.

With the assumption that a vast majority of the voters of Idaho are voting sincerely, and we see no
reason to assume otherwise after a thorough review of the political science literature and the
present electoral context in Idaho, we see no problem, aside from the perspective of Party
Organization wanting to restrict diversity of opinion within the Party with regard to candidate
selection.

7. Contrary to what Professor Munger states in his report (p. 10), crossover voting and raiding
behavior can also occur in closed primaries, though perhaps at a reduced rate because of increased
costs to the voter (Southwell’s (1991) evidence noted above to the contrary, as her findings
demonstrated more negatively strategic behavior in closed primaries). Most of the time, however,
closing the primary would be suppression of true voter preferences instead of negatively strategic
behavior.

Even so, in the post-Help Americans Vote Act (2002) era, and with same-day registration as Idaho
has, it does not cost voters as much time and effort as it used to in order to register to vote or
change their registration—so, if a cabal of voters still wishes to coordinate this overly rare
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nightmare scenario of a negatively strategic attack under a closed primary system, all this group of
voters has to do is coordinate, change their registration on Election Day, then proceed to the polls.

This discussion should at least lead to questions about whether crossover voting, which likely is not
a problem, will be reduced by closing the primary and whether closing the primary will reduce the
already negligible potential for negatively strategic voting behavior.

8. Competitive elections are good things for a democracy. One-party politics, increased
polarization, and a lack of competition are not good things for a democracy.

The onus is on candidates and parties to persuade voters to identify with them and vote for them.

The rules under which these candidates fight for votes do indeed matter.

The extant literature shows that closing the primary may reduce the probability of a very rare set of
negatively strategic behaviors, but closing the primary is likely to have the very real and immediate
effect of a) excluding part of the general electorate, and their very likely sincere democratic
preferences, from the candidate selection process, b) producing more ideologically extreme
candidates, and c) reducing political participation in the process.
